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In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                               Reported by:

CRAIG BRELAND                                                          May 18, 2011           THU BUI, CCR, RPR

                                                                                                                  Page 1
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                       Deposition of CRAIG BRELAND,
            taken at Pan-American Building, 601 Poydras
            Street, 11th Floor, New Orleans, Louisiana,
            70130, on the 18th of May, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                  Board-Certified Court Reporters      Facsimile:(504) 525-9109
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               Case 2:10-md-02179-CJB-DPC Document 4457-28 Filed 11/01/11 Page 2 of 21
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                     Reported by:

CRAIG BRELAND                                                          May 18, 2011                              THU BUI, CCR, RPR
                                                                          Page 82                                                         Page 84




                                                                                           16      Q.              Did you feel any
                                                                                           17   pressure while you were on the DEEPWATER
                                                                                           18   HORIZON to speed up operations because the
                                                                                           19   well was behind schedule?
                                                                                           20          MR. GATEWOOD:
                                                                                           21            Objection, form.
                                                                                           22      A. No.
                                                                                           23      Q. Did you hear anything about
                                                                                           24   needing to -- to speed up because of that?
                                                                                           25          MR. GATEWOOD:
                                                                          Page 83                                                         Page 85
  1                                                                                        1             Objection, form.
                                                                                           2       A. No.
                                                                                           3       Q. All right. In the time that you
                                                                                           4    were on the DEEPWATER HORIZON, did you
                                                                                           5    notice any activities by Transocean that
                                                                                           6    you felt was unsafe?
                                                                                           7           MR. GATEWOOD:
                                                                                           8             Objection, form.
                                                                                           9       A. No.




                                                                                           23    Q. Did you ever feel at anytime
                                                                                           24 that you were being asked to cut corners?
                                                                                           25        MR. GATEWOOD:
                                                                                                                    22 (Pages 82 to 85)
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In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                              Reported by:

CRAIG BRELAND                                                          May 18, 2011          THU BUI, CCR, RPR
                                                                          Page 86                                  Page 88
  1                 Objection, form.
  2          A.     No.
  3




                                                                          Page 87                                  Page 89




                                                                                               23 (Pages 86 to 89)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                          Reported by:


DOUGLAS H. BROWN                                                                           May 3, 2011   SANDRA D. FILES, CCR

                                                                                                                                Page 1
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                          Videotaped Deposition of DOUGLAS
               H. BROWN, 18801 Southeast 11th Way,
               Vancouver, Washington 98683, taken in the
               Pan American Life Center, Pontchartrain
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on May 3, 2011.

               APPEARANCES:



               MARTZELL & BICKFORD
               By: Scott R. Bickford, Esquire
               338 Lafayette Street
               New Orleans, LA 70130
                      (Attorneys for Plaintiffs Steering
                      Committee)




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                         Telephone (504) 525-9100
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:


DOUGLAS H. BROWN                                                                           May 3, 2011                SANDRA D. FILES, CCR
                                                                                           Page 290                                                   Page 292




                                                                                                      20      Q. Can you say the same for those
                                                                                                      21   who worked alongside of you on your tour,
                                                                                                      22   specifically those in the mechanical
                                                                                                      23   department? Did you feel they were hard
                                                                                                      24   working, conscientious, and
                                                                                                      25   safety-oriented?
                                                                                           Page 291                                                   Page 293
                                                                                                      1       A. Those who worked with me, yes.
                                                                                                      2       Q. If you had any hesitation about
                                                                                                      3    their abilities and their skill level, I
                                                                                                      4    presume that's something you would have
                                                                                                      5    reported your superiors, correct?
                                                                                                      6       A. Or dealt with it myself, yes.
                                                                                                      7       Q. And you never did that, correct?
                                                                                                      8       A. No.
                                                                                                      9




                                                                                                                            74 (Pages 290 to 293)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                         Reported by:


DOUGLAS H. BROWN                                                                           May 3, 2011              SANDRA D. FILES, CCR
                                                                                           Page 294                                            Page 296




                                                                                           Page 295                                            Page 297




 11           Q. Mr. Brown, my question that came
 12        out poorly was: At no point in time from
 13        January 1 of 2010 to April 20th of 2010 --
 14        that's the timeframe I'm talking about --
 15           A. Uh-huh.
 16           Q. At no point in time during those
 17        months did BP ever exercise a right to shut
 18        down this rig for any safety concerns; is
 19        that right?
 20           A. I did not see any.
 21                                                                                                   21     Q.           You have known Jimmy
                                                                                                      22 a long time?
                                                                                                      23     A. Yes.
                                                                                                      24     Q. Don't you?
                                                                                                      25     A. Yes.

                                                                                                                         75 (Pages 294 to 297)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                          Reported by:


DOUGLAS H. BROWN                                                                           May 3, 2011   SANDRA D. FILES, CCR
                                                                                           Page 298                             Page 300
  1            Q. You felt he was sincere in that
  2        comment?
  3            A. Yes. I have known Jimmy quite a
  4        while and he's a very, very controlled and
  5        thorough man. And, yes, with him it was a
  6        -- the safe way or no way.
  7            Q. Right. What about Jason
  8        Anderson? You worked with Mr. Anderson a
  9        long time?
 10            A. I first met him when the rig was
 11        being built.
 12            Q. Dewey Revette?
 13            A. I knew Dewey somewhat pretty
 14        good.
 15            Q. You worked with him a long time
 16        as well?
 17            A. Yes.
 18            Q. All right. Both of those men
 19        you had a lot of respect for?
 20            A. Absolutely.
 21            Q. You felt they were both
 22        conscientious in their job?
 23            A. Yes.
 24            Q. They performed their job safely?
 25            A. Yes.
                                                                                           Page 299                             Page 301
   1          Q. Weren't risk-takers?
   2          A. No.
   3          Q. Is there any doubt in your mind
   4       that Mr. Anderson and Mr. Revette did
   5       everything they knew and they were trained
   6       to do, properly?
   7          A. I believe so.
   8




                                                                                                           76 (Pages 298 to 301)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                      Reported by:

MICAH BRANDON BURGESS                                                                          April 20, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                           Page 1
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                      Deposition of MICAH BRANDON BURGESS,
               taken in the Pan American Life Center,
               Bayou Room, 11th Floor, 601 Poydras Street,
               New Orleans, Louisiana 70130, on Wednesday,
               April 20, 2011.



               APPEARANCES:


                                 WATTS, GUERRA & CRAFT, LLP
                                 (By: Mikal C. Watts, Esquire,
                                       Robyn Lessinger, Esquire and
                                       David McLendon, Esquire)
                                 Bank of America Plaza, Suite 100
                                 300 Convent Street
                                 San Antonio, Texas 78205
                                     (Attorneys for PSC)




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                  Telephone: (504) 525-9100
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                      Reported by:

MICAH BRANDON BURGESS                                                                          April 20, 2011   JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 254                                         Page 256
   1                                                                                                   1




 10                                                                                                   10




                                                                                           Page 255                                         Page 257


                                                                                                       2




  7           Q. Prior to the DEEPWATER HORIZON
  8        exploding and sinking to the bottom of the
  9        Gulf and this oil spill, did you ever hear
 10        any criticism whatsoever from BP about the                                                 10
 11        Transocean safety culture out there on the
 12        DEEPWATER HORIZON?
 13           MS. O'CONNOR:
 14               Object to the form.
 15           THE WITNESS:
 16               No.
 17        EXAMINATION BY MR. WATTS:
 18           Q. Were you ever given any specific
 19        complaints orally or in writing by anybody
 20        from BP that said you or any of your
 21        Transocean coworkers were doing it wrong?
 22           MS. O'CONNOR:
 23               Object to form.
 24           THE WITNESS:
 25               No.                                                                                 25

                                                                                                                      65 (Pages 254 to 257)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                Reported by:

MICAH BRANDON BURGESS                                                                          April 20, 2011       JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 482                                                   Page 484
   1                                                                                                   1   Jason Anderson. Did you have experience
                                                                                                       2   working with Jason on the HORIZON?
                                                                                                       3      A. Yes.
                                                                                                       4      Q. How many years would you
                                                                                                       5   estimate that you worked with Jason
                                                                                                       6   Anderson?
                                                                                                       7      A. Working directly with him, I
                                                                                                       8   don't really know, but he'd been on the rig
                                                                                                       9   longer than I had. So --
 10           Q. And two of those -- I want to                                                        10      Q. Was there a time when Jason was
 11        ask you some questions about a couple of                                                   11   giving you instruction on your job as a
 12        those gentleman. Okay. First, I want to                                                    12   driller or assistant driller?
 13        start with Dewey Revette. How long did you                                                 13      A. Yes.
 14        work with Dewey?                                                                           14      Q. Would you say that you've
 15           A. A long time. I don't know the                                                        15   learned a lot from Jason?
 16        exact amount of time but it's been years.                                                  16      A. Yes, I learned from him.
 17           Q. And did you two work as drillers                                                     17      Q. And was he good at his job?
 18        on the same tour at times, or how did that                                                 18      A. Yes.
 19        work?                                                                                      19      Q. Was he a professional?
 20           A. We was ADs together for an                                                           20      A. Yes.
 21        amount of time.                                                                            21      Q. When you went to bed on
 22           Q. Okay. Was there a period where                                                       22   April 20th, did you have confidence in the
 23        you were either in charge of Mr. Revette or                                                23   fact that Jason was at the helm?
 24        vice-versa?                                                                                24      A. Yes, sir.
 25           A. No, I wouldn't say that. Other
                                                                                           Page 483                                                   Page 485
  1        than me working over as a driller on the
  2        crew he was ADing on.
  3           Q. Did you undergo training classes
  4        together?
  5           A. Yes.
  6           Q. And there were many hitches that
  7        you had together?
  8           A. Yes.
  9           Q. Suffice it to say you had quite
 10        a bit of experience with Mr. Revette?                                                      10
 11           A. Yes, sir.
 12           Q. Did you trust his abilities on
 13        the rig?
 14           A. Yes, very much.
 15           Q. Was he good at his job?
 16           A. Dewey took everything to the top
 17        level.
 18           Q. Is he -- did he act as a
 19        professional?
 20           A. Always.
 21           Q. And when he was on tour and when
 22        you were sleeping, you relied and trusted
 23        on his abilities on the rig?
 24           A. Yes.
 25           Q. The same set of questions for
                                                                                                                           122 (Pages 482 to 485)
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                                                                ·rt}·t;·~',J:
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                                                                                       'OlreCIEOVIE~
                                WITNESS CERTIFICATE
                                                                                   ,   ~ JUN 1 2011
                                                                                                           :::I


                 I,     MICAH BRANDON BURGESS, have read or

                 have had the foregoing testimony read to me and

                 hereby certify that                    it        is     a        true and correct

                 transcription             of           my testimony,                     with       the

                 exception            of      any            attached corrections                     or

                 changes.


                                                                   NJ-
                                                                 _L~__ ~~__
                                                                             J.t L~#M ~     4   __   __




        (Date Signed)                                               (Signature)



                      Signed with corrections as attached.

                      Signed with no corrections noted.



  11745 Bricksome Avenue, Suite A-4               PHONE          (225) 291-3411
  Baton Rouge, Louisiana 70816                    FAX            (225) 291-7990
  263 W. Causeway Approach                        PHONE          (504) 525-9100
  Mandeville, louisiana 70448                     FAX            (504) 525-9109

  Website: www.gaudetkalser.com                   ALT. EMAIL:
                                                  Gkp2003@aol.com &. gkp@gaudetkaiser,com
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

GERALD A. CANDUCCI VOL. II                                                                     March 24, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                       Page 399
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA




                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                                                          VOLUME II


                      Deposition of GERALD A. CANDUCCI,
               taken in the Pan American Life Center,
               Bayou Room, 11th Floor, 601 Poydras Street,
               New Orleans, Louisiana 70130, on Thursday,
               March 24, 2011.

               APPEARANCES:

                                 WATTS, GUERRA & CRAFT, LLP
                                 (By: Mikal C. Watts, Esquire)
                                 Bank of America Plaza, Suite 100
                                 300 Convent Street
                                 San Antonio, Texas 78205
                                     (Attorneys for PSC)




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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:

GERALD A. CANDUCCI VOL. II                                                                     March 24, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 432                                                  Page 434
   1




                                                                                                       9      Q. In your view, back in
 10                                                                                                   10   April 2010, how many -- well, let me ask
                                                                                                      11   you first: How many rigs, MODUs,
                                                                                                      12   semi-submersibles or other drill ships or
                                                                                                      13   other vessels did you have within your
                                                                                                      14   purview as a DP hand, as a QHSE manager for
                                                                                                      15   the North American division?
                                                                                                      16      A. I believe it was 12 at the time.
                                                                                                      17      Q. Where, in your view, from your
                                                                                                      18   experience as QHSE manager in DP, where did
                                                                                                      19   the DEEPWATER HORIZON rank within that
                                                                                                      20   fleet of about 12 vessels in terms of
                                                                                                      21   safety adherence, morale quality?
                                                                                                      22      A. It was always recognized as
                                                                                                      23   being a very high quality crew and the rig
                                                                                                      24   was a high quality rig. It had good safety
                                                                                                      25   performance and good operational
                                                                                           Page 433                                                  Page 435
                                                                                                       1   performance, was the general consensus.
                                                                                                       2




 10                                                                                                   10




                                       orld; right?
 25              A.       I do.
                                                                                                                            10 (Pages 432 to 435)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                           Reported by:

GERALD A. CANDUCCI VOL. II                                                                     March 24, 2011    JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 572                                              Page 574
   1                                                                                                   1




 10                                                                                                   10




                                                                                           Page 573                                              Page 575




 10                                                                                                   10




                                                                                                      25        So, you know, we encourage
                                                                                                                          45 (Pages 572 to 575)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

GERALD A. CANDUCCI VOL. II                                                                     March 24, 2011   JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 576                                        Page 578
  1        everybody, if you see anything, it doesn't                                                  1
  2        matter, you won't be reprimanded or
  3        denigrated in any way. We will celebrate
  4        your execution of a time-out.
  5               In fact, we have a weekly -- I
  6        wouldn't call it a weekly, but we have a
  7        thing called I Made a Difference, and it's
  8        a documented time-out for safety that
  9        occurred on a rig and it comes out of the
 10        corporate office where time-outs are                                                       10
 11        expressed to them.
 12               They choose one that is
 13        noteworthy and they distribute it
 14        throughout the company saying, trying to
 15        show people that calling a time-out for
 16        safety is nothing to be frightened to do.
 17        We encourage it every day, all the time.




                                                                                           Page 577                                        Page 579




 10                                                                                                   10




                                                                                                                      46 (Pages 576 to 579)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:

GERALD A. CANDUCCI VOL. II                                                                     March 24, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 660                                                 Page 662
   1




                                                                                                       9       Q. My question is this: At any
 10                                                                                                   10   time before this thing blew up, did you
                                                                                                      11   ever get any complaints from Mr. Tink
                                                                                                      12   during these lunch dates or from anybody at
                                                                                                      13   BP that said that Transocean's training of
                                                                                                      14   its employee was somehow derelict, that
                                                                                                      15   these employees didn't know how to conduct
                                                                                                      16   well control?
                                                                                                      17       A. No, I did not.




                                                                                           Page 661                                                 Page 663




 10                                                                                                   10




                                                                                                                            67 (Pages 660 to 663)
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New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                      Facsimile: (504) 525-9109
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                  Case 2:10-md-02179-CJB-DPC Document 4457-28 Filed 11/01/11 Page 17 of 21
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

GERALD A. CANDUCCI VOL. II                                                                     March 24, 2011   JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 684                                        Page 686
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 10                                                                                                   10




                                                                                           Page 685                                        Page 687




  7                At any time prior to the
  8        explosion on the DEEPWATER HORIZON on April
  9        the 20th of 2010, did anybody at BP ever
 10        complain to you about any of the equipment  10
 11        or the training that Transocean provided to
 12        the employees of the DEEPWATER HORIZON?
 13            A. No, sir.
 14




                                                                                                                      73 (Pages 684 to 687)
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                                 WITNESS CERTIFICATE



                  I,    GERALD A. CANDUCCI, have read or have

                  had the foregoing testimony read to me and

                  hereby certify that                 it    is    a     true and correct

                  transcription             of        my testimony,                   with    the

                  exception            of      any         attached corrections                or

                  changes.



        ~!f-'l-:{Otf.                              ---~CL_~--------------------------
         (Date Signed)                                        (Signature)



                       Sig ned with corrections as attached.

                       Sig ned with no corrections noted.



   11745 Bricksome Avenue, Suite A-4               PHONE   (225) 291-3411
   Baton Rouge, Louisiana 70816                    FAX     (225) 291-7990

   263 W. Causeway Approach                        PHONE   (504) 525-9100
   Mandeville, Louisiana 70448                     FAX     (504) 525-9109

   Website: www.gaudetkaiser.com                   ALT. EMAIL:
                                                    Gkp2003@aol.com 8< gkp@gaudetkaiser.com
                  Case 2:10-md-02179-CJB-DPC Document 4457-28 Filed 11/01/11 Page 19 of 21
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                       Reported By:

MILES RANDAL EZELL VOL. II                                                                     April 28, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR


                                                                                                                                        Page 356
                                      UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA




               IN RE: OIL SPILL                                                  MDL NO. 2179
               BY THE OIL RIG
               "DEEPWATER HORIZON"                                               SECTION:          J
               IN THE GULF OF
               MEXICO, ON                                                        JUDGE BARBIER
               APRIL 20, 2010                                                    MAG. JUDGE SHUSHAN




                                                               VOLUME 2



                            30 (B)(6) and 30 (B)(5)deposition of

               TRANSOCEAN, through its designated

               representative, MILES RANDAL EZELL, and MILES

               RANDAL EZELL individually, 32 Ezell Road,

               Purvis, Mississippi 39475, taken in the Pan

               American Life Center, Bayou Room 1 and 2,

               11th Floor, 601 Poydras Street, New Orleans,

               Louisiana 70130, reported on Thursday, April

               28th, 2011.




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                  Case 2:10-md-02179-CJB-DPC Document 4457-28 Filed 11/01/11 Page 20 of 21
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                Reported By:

MILES RANDAL EZELL VOL. II                                                                     April 28, 2011     DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 489                                                   Page 491
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                                                                                                       5       Q. At all times when you were on
                                                                                                       6   the Macondo well site as the senior
                                                                                                       7   toolpusher, up to the explosion on the night
                                                                                                       8   of April 20, did you believe that the
                                                                                                       9   operations on board the rig were safe?
 10                                                                                                   10       A. Yes, that was my belief.
                                                                                                      11       Q. And if you had thought, as the
                                                                                                      12   senior toolpusher, that any operations on
                                                                                                      13   April 18, 19 or 20, were unsafe or were too
                                                                                                      14   risky, what would you have done?
                                                                                                      15      MR. KINCHEN:
                                                                                                      16           Object to form.
                                                                                                      17      THE WITNESS:
                                                                                                      18           Intervened.
                                                                                                      19   EXAMINATION BY MR. GODFREY:
                                                                                                      20       Q. Would you have stopped the job?
                                                                                                      21      MR. KINCHEN:
                                                                                                      22           Object to form.
                                                                                                      23      THE WITNESS:
                                                                                                      24           Yes.

                                                                                           Page 490                                                   Page 492




 10                                                                                                   10




                                                                                                                             35 (Pages 489 to 492)
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Case 2:10-md-02179-CJB-DPC Document 4457-28 Filed 11/01/11 Page 21 of 21




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                  If    MILES RANDAL EZELL, have read or have

                  had the foregoing testimony read to me and

                  hereby certify that              it     is     a        true and correct

                 transcription              of      my testimony I               with   the

                 exception             of    any         attached corrections            or

                 changes.




         (Date Signed)                                      (Signature)



                       Signed with corrections as attached.

                       Signed with no corrections noted.



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   B<!ton Rouge, LQulsiana 7.0816                FAX     (22S) 291-7~90
